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Defendant/Respondent,

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CLERK’S NOTlCE OF RECEIPT OF APPEAL FILING FEE

, , ,» f ,
The Clerk notifies the Comt that on ¢,7°[',/,3¢)/@ / the flhng fee of $ 455.00 was

received, receipt number 45ng 169 f .

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DONE at the Federal Courthouse Square, Miami, Florida, this 130 jj day of

jeQ/L/rnéé/ , 2009.

STEVEN M. LARIMORE
Court Administrator'Clerk of Coult

\Bt)w/ WQ€L

Deputy lerk

c: US COul‘t Of Appeals 11th Circuit
Appellant

